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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MISC. BUSINESS DOCKET
No.: l6-mc-91141-PBS

IN RE: ANDREW O. OLSON

ORDER OF TERM SUSPENSION

WHEREAS, on June 7, 2016, an Order of Immediate Temporary Suspension with respect
to ANDREW O. OLSON was issued by Chief Judge Patti B. Saris.

l. WHEREAS, on December 12, 2016, the Supreme Judicial Court
for the Commonwealth of Massachusetts has cause to tile with this
Court a certified copy of an Order of Term Suspension with respect
to ANDREW O. OLSON;

2. WHEREAS, pursuant to Local Rule 83.6.9(b), a “Notice of Filing
of Disciplinary Action” and an “Order to Show Cause” were filed in
this Court on December 30, 2016. In addition, a copy of the notice
and order (along with a copy of our Local Rule) were sent via
certified mail, return receipt requested to the address on file with
this court.

3. WHEREAS, on January 3, 2017, the certified mail package Was
signed for and delivered;

4. WHEREAS, ANDREW 0. OLSON has failed to object or
otherwise respond within twenty-eight (28) days.

WHEREFORE, pursuant to Local Rule 83.6.9( c), this Court hereby imposes the identical
discipline, and ANDREW O. OLSON is hereby Suspended from the practice of law before this

court until further notice. />

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Date Patti B. Saris, Chief Judge

 

 

